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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case Number: 18-20495
                                                            Honorable David M. Lawson
v.

IBRAHEEM IZZY MSUAIBLI,

                  Defendant,
__________________________________________/

           ORDER DENYING WITHOUT PREJUDICE GOVERNMENT’S
     MOTION TO DESIGNATE CLASSIFIED INFORMATION SECURITY OFFICER

       The government has moved to designate certain individuals as Classified Information

Security Officers (CISO) in this case.

       The defendant is charged in an indictment with providing and attempting to provide

material support to a designated terrorist organization, contrary to 18 U.S.C. § 2339B. The Court

held an initial pretrial conference with counsel for the parties on August 8, 2018, as contemplated

by section 2 of the Classified Information Procedures Act (CIPA), 18 U.S.C., App. III, § 2. At the

conference, the government informed the Court and the defendant that the discovery materials and

evidence in the case may involve classified information.

       In support of its request for a CISO designation, the government references section 2 of the

Revised Security Procedures Established Pursuant to Pub. L. 96-456, 94 Stat. 2025 (“Rev. Pro.”).

Those rules were established at the direction of Congress. See 18 U.S.C., App. III, § 9(a). Section

2 states that “[i]n any proceeding in a criminal case or appeal therefrom in which classified

information is within, or is reasonably expected to be within, the custody of the court, the court
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will designate a” CISO.      However, the government has not complied with the procedures

prescribed for establishing that officer.

       As the Revised Procedures explain,

       The Attorney General or the Department of Justice Security Officer will
       recommend to the court a person qualified to serve as a classified information
       security officer. This individual will be selected from the Litigation Security
       Group, Security and Emergency Planning Staff, Department of Justice, to be
       detailed to the court to serve in a neutral capacity.

Rev. Pro. § 2. The Court has not received a recommendation for a CISO from the Attorney General

or the Department of Justice Security Officer.

       The Revised Procedures also require the government to inform the Court of the proposed

CISO’s qualifications. Section 2 states:

       The classified information security officer must be an individual with demonstrated
       competence in security matters. Prior to designation, the Department of Justice
       Security Officer must certify in writing that the classified information security
       officer is properly cleared, i.e., possesses the necessary clearance for the level and
       category of classified information involved.

Ibid. Although the government has identified certain nominees as CSIOs and alternates, the DOJ

Security Officer has not furnished any certifications relating to the competence or qualifications

of the government’s nominees. The government will be directed to comply promptly with these

requirements.

       Accordingly, it is ORDERED that the government’s motion to designate a classified

information security officer (ECF No. 24) is DENIED without prejudice.

       It is further ORDERED that on or before October 16, 2018, the government must cause

the Attorney General or the Department of Justice Security Officer to recommend to the court a

person qualified to serve as a classified information security officer in accordance with the

procedures established by section 2 of the Revised Security Procedures Established Pursuant to

Pub. L. 96-456, 94 Stat. 2025.

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                                                                 s/David M. Lawson
                                                                 DAVID M. LAWSON
                                                                 United States District Judge

Date: October 2, 2018


                                       PROOF OF SERVICE

                    The undersigned certifies that a copy of the foregoing order was
                    served upon each attorney or party of record herein by
                    electronic means or first-class U.S. mail on October 2, 2018.

                                               s/Susan K. Pinkowski
                                               SUSAN K. PINKOWSKI




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